On December 1, 1995, appellant, Felipe Otero, pleaded guilty to two counts of rape, an aggravated felony of the first degree, in violation of R.C. 2907.02. The Lake County Court of Common Pleas sentenced appellant to an indefinite term of incarceration of seven to twenty-five years on each count to run concurrently with each other. In a judgment entry filed on November 19, 1997, the trial court adjudicated appellant to be a sexual predator pursuant to Ohio's version of Megan's Law, recently amended R.C. Chapter 2950. Appellant timely appealed, asserting that Ohio's version of Megan's Law is unconstitutional.
Based on the precedent established by the majority of this court in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, although this writer interposed a dissent to the majority's mandate there that R.C. Chapter 2950 was constitutionally void as applied to sexual predators under Section 1, Article I of the Ohio Constitution, it is clear that the decision in the Williams case controls the outcome here. Hence, I defer to the present controlling authority in this appellate district on the issues raised in this appeal.
Accordingly, the judgment of the trial court is reversed, and the case is hereby remanded for further proceedings consistent with this opinion.
                                ______________________________ PRESIDING JUDGE DONALD R. FORD
NADER, J., O'NEILL, J., concur.
HON. DONALD R. FORD, P.J., HON. ROBERT A. NADER, J., HON. WILLIAM M. O'NEILL, J., JUDGES.